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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION


UNITED STATES OF AMERICA,

                                Plaintiff,                      Case No. 3:10 CR 411
                -vs-
                                                                MEMORANDUM OPINION
MARK A. FETTER,                                                  AND ORDER

                                Defendant.
KATZ, J.

        Before the Court is the Report and Recommendation of the Magistrate Judge filed February

18, 2011 in the above-entitled action. Under the relevant statute:

                Within ten (10) days after being served a copy of these proposed Findings and
                Recommendation, any party who wishes to object must file and serve
                written objections or further appeal is waived.

United States v. Campbell, 261 628 (6th Cir. 2001) (citation omitted); see also 28 U.S.C.A. §

636(b)(1). In this case, the ten day period has elapsed and no objections have been filed. Therefore,

the failure to file written objections to the Magistrate Judge’s report and recommendation constitutes

a waiver of a determination by the district court of an issue covered in the report. Thomas v. Arn,

728 F.2d 813 (6th Cir. 1994), aff’d, 474 U.S. 140 (1985); see also United States v. Walters, 638 F.2d

947 (6th Cir. 1981).

        Following review of the Magistrate Judge’s Report and Recommendation, the Court adopts

the Report and Recommendation in its entirety as the Order of the Court. The Defendant’s motion

to dismiss or in the alternative to supress (Doc. No. 16) is denied.

        IT IS SO ORDERED.



                                                          S/ David A. Katz
                                                        DAVID A. KATZ
                                                        SENIOR U. S. DISTRICT JUDGE
